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EXHIBIT 3

 
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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

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THE CITY OF HUNTINGTON,

Plaintiff,

Vv. CIVIL ACTION NO. 3:17-01362

AMERISOURCEBERGEN DRUG
CORPORATION, et al,

Defendants.

CABELL COUNTY COMMISSION,
Plaintiff,

vs.

AMERISOURCEBERGEN DRUG
CORPORATION, et al,

Defendants.
FAIR RI RHI FR RI I TR I FE SE FOR eB SE ke te a A a ak ke de ake ake oe

Videotaped and videoconference deposition of

KELLI SOBONYA, taken by the Defendants pursuant to the
West Virginia Federal Rules of Civil Procedure, in the
above-entitled action, pursuant to notice, before Twyla
Donathan, Registered Professional Reporter and Notary
Public, at the Mountain Health Arena, ONE CIVIC CENTER
PLAZA, HUNTINGTON, WEST VIRGINIA, on the 10th

day of July, 2020.

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her this year -- I had two back surgeries, and even though
the doctor wanted to write me a prescription, I refused
because of my experience.

Q So you refused prescriptions for opioids when

they've been offered to you?

A Since this opioid epidemic started, I have
refused -- To my knowledge, I mean, I can't tell you -- I
can't tell you with -- unequivocally without a doubt that
I ever was prescribed an opioid and took one. It's my
recollection that I did not. I know from my two back

surgeries, I declined the offer for a prescription post

release.

Q Were those recent?

A This surgery to repair three ruptured disks was
probably seven years -- six or seven years ago, maybe

longer, maybe ten years. And my lower back, I had my
surgery to repair a ruptured disc, I would say a year and
a half to two years ago.

Q And you have already mentioned that you have had
some family members who have had adverse experience with
opioids?

A Yes, my cousin Rachel lived in Huntington. She
was prescribed opioids due to a workplace injury. She got

hooked on those, and she has since ~- we buried her this

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year. She left behind a 14-year-old son.

My nephew, who was a football player in Wayne
County, was prescribed opioids for a shoulder injury. And
he is still in the throes of addiction, in and out of
some -- you know, multiple arrests. And he's still
addicted.

I have multiple friends, you know, who've lost
children and now they're raising their grandchildren.

I've had experience with friends who, to the shock of the

family members, the baby was born drug exposed and placed

into Lilly's Place for care. And since then, there's been
Suicide.

And my friend is -- I have multiple friends that
are raising their grandchildren, who are older than me,
because they've lost children to the opioid addiction
problem from overdoses or from subsequent suicide.

And I can attest to the fact that the children
born exposed to opioids are continuing to have problems.
One of my good friends is raising her five-year-old
grandchild, and she wears diapers and cannot effectively
communicate. My other friend who is raising her grandson
who is four years old who was put into Lilly's Place, he
had -- like I said, the mother committed suicide because

she got back into opioids and addiction. And her fiance

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jumped off the Ohio River bridge here in Huntington. He
survived, and he is back living with his mother, and she
is raising -- helping to raise his son who has severe
problems. He is going through therapy -- it's behavioral,
because of his exposure to opioids while in the womb.

And it's an ongoing process. They actually --
they lived in a townhouse community, you know, getting --
gearing up for their retirement, and they now have had to
build another house to accommodate their grandson living
with them.

I had a friend who -- she came to me because her
granddaughter was killed by someone who ran the flashing
lights of a school bus that had stopped, and her
granddaughter who was six had died. And so we passed
Haven's Law, and I got to know her through that effort.
And I got the call from her that her daughter, who was
waiting for a treatment bed -- she was addicted to opioids
for a number of years, and I got the call of her screaming
and saying that her daughter, waiting for a treatment bed,
used again and she died of an overdose. And now my
friend, who is probably ten years older than me, is
raising her three granddaughters left behind. The
youngest was a year old when her mother overdosed.

I mean, I could just -- I could go story after

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story. I mean, I've known so much pain from this opioid
addiction. As a policymaker, I'm part of -- When I was in
the legislature -- I'm sorry. I'm getting emotional
because I know the effects of what the opioids have done
to my friends and their families, but --
Can I get my thoughts?

MS. KNIGHT: Yes, ma'am. Take a break.

MR. RUBY: Sure. Take a break.

VIDEOGRAPHER: Going off the record. The
time is 4:40 p.m.

(A recess was taken.)

VIDEOGRAPHER: We're back on the record.
The time is 4:48 p.m. This begins Unit No. 4 in the
deposition of Kelli Sobonya.

THE DEPONENT: I think I was in the middle
of a sentence where I was talking about -- You know, as a
policymaker, our women's caucus toured the NIC unit in
Charleston at the hospital, and one of the things we were
focusing on in our meetings as a women's caucus was the
opioid epidemic and the effect on women and children and
families throughout the state, because we all represented
different parts of the state.

And so we went and met with the doctor who

was in charge of the NICU Unit, and more importantly the

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